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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     SUMMITROSE INVESTMENTS,
                                                  325).
18   LP, a Delaware limited partnership;
     WVJ, INC., a California corporation;
19                                             2. VIOLATIONS OF THE UNRUH
     and DOES 1-10, inclusive,
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                                                CIVIL CODE § 51 et seq.
21
                      Defendants.

22

23         Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
24   Defendants SUMMITROSE INVESTMENTS, LP, a Delaware limited partnership;
25   WVJ, INC., a California corporation; and Does 1-10 (“Defendants”) and alleges as
26   follows:
27                                         PARTIES
28         1.      Plaintiff is substantially limited in performing one or more major life
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                                           COMPLAINT
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 1   activities, including but not limited to: walking, standing, ambulating, sitting; in
 2   addition to twisting, turning and grasping objects. As a result of these disabilities,
 3   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 4   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 5   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 7   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 8   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 9   suffered from a “qualified disability” under the ADA, including those set forth in
10   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
11          2.     Plaintiff is informed and believes and thereon alleges that Defendants
12   SUMMITROSE INVESTMENTS, LP, a Delaware limited partnership; WVJ, INC.,
13   a California corporation, owned the property located at 9030 Foothill Blvd, Rancho
14   Cucamonga, CA 91730 (“Property”) on or around May 24, 2020.
15          3.     Plaintiff is informed and believes and thereon alleges that
16   SUMMITROSE INVESTMENTS, LP, a Delaware limited partnership; WVJ, INC.,
17   a California corporation, owns the Property currently.
18          4.     Plaintiff does not know the true name of Defendants, its business
19   capacity, its ownership connection to the Property serving Sammy's Cafe
20   (“Business”), or its relative responsibilities in causing the access violations herein
21   complained of. Plaintiff is informed and believes that each of the Defendants herein,
22   including Does 1 through 10, inclusive, is responsible in some capacity for the
23   events herein alleged, or is a necessary party for obtaining appropriate relief.
24   Plaintiff will seek leave to amend when the true names, capacities, connections, and
25   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
26                               JURISDICTION AND VENUE
27          5.     This Court has subject matter jurisdiction over this action pursuant
28   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
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                                             COMPLAINT
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 1          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 2   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 3   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 4   federal ADA claims in that they have the same nucleus of operative facts and
 5   arising out of the same transactions, they form part of the same case or controversy
 6   under Article III of the United States Constitution.
 7          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 8   real property which is the subject of this action is located in this district and because
 9   Plaintiff's causes of action arose in this district.
10                                FACTUAL ALLEGATIONS
11          8.     Plaintiff went to the Business on or about May 24, 2020 for the dual
12   purpose of purchasing menu items and to confirm that this public place of
13   accommodation is accessible to persons with disabilities within the meaning federal
14   and state law.
15          9.     The Business is a facility open to the public, a place of public
16   accommodation, and a business establishment.
17          10.    Parking spaces are one of the facilities, privileges, and advantages
18   reserved by Defendants to persons at the Property serving the Business.
19          11.    Unfortunately, although parking spaces were one of the facilities
20   reserved for patrons, there were no designated parking spaces available for persons
21   with disabilities that complied with the 2010 Americans with Disabilities Act
22   Accessibility Guidelines (“ADAAG”) on May 24, 2020.
23          12.    At that time, instead of having architectural barrier free facilities for
24   patrons with disabilities, Defendants have: no ADASAD compliant accessible or van
25   accessible parking signage in violation of Section 502.6; the access aisle at the
26   accessible parking space that is ramped up to connect the walkway to the street level
27   creating slopes and cross slopes excessive of 1:48 (Access aisles shall be at the same
28   level as the parking spaces they serve. Changes in level are not permitted.
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                                             COMPLAINT
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 1   EXCEPTION: Slopes not steeper than 1:48 shall be permitted per Section 502.4); a
 2   curb ramp that projects into the accessible parking space access aisle in violation of
 3   Section 406.5 (which requires that curb ramps and the flared sides of curb ramps
 4   shall be located so that they do not project into vehicular traffic lanes, parking
 5   spaces, or parking access aisles); a slope of the curb ramp that flares at the curb ramp
 6   connecting the accessible parking spaces to the accessible route exceeds 25% in
 7   violation of Section 406.3 (which requires that the slope does not exceed 10%); and,
 8   no accessible routes connecting the parking to the main entrance or elements within
 9   the facility as required by Section 206.2.2 (which requires that at least one accessible
10   route shall connect accessible buildings, accessible facilities, accessible elements,
11   and accessible spaces that are on the same site, and 206.1 requiring access to the site
12   arrival point (main entrance) from the public street).
13         13.    Subject to the reservation of rights to assert further violations of law
14   after a site inspection found infra, Plaintiff asserts there are additional ADA
15   violations which affect him personally.
16         14.    Plaintiff is informed and believes and thereon alleges Defendants had
17   no policy or plan in place to make sure that there was compliant accessible parking
18   reserved for persons with disabilities prior to May 24, 2020.
19         15.    Plaintiff is informed and believes and thereon alleges Defendants have
20   no policy or plan in place to make sure that the designated disabled parking for
21   persons with disabilities comport with the ADAAG.
22         16.    Plaintiff personally encountered these barriers. The presence of these
23   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
24   conditions at public place of accommodation and invades legally cognizable
25   interests created under the ADA.
26         17.    The conditions identified supra in paragraph 12 are necessarily related
27   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
28   the major life activities of walking, standing, ambulating, sitting, in addition to
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                                            COMPLAINT
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 1   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
 2   placard; and because the enumerated conditions relate to the use of the accessible
 3   parking, relate to the slope and condition of the accessible parking and accessible
 4   route to the accessible entrance, and relate to the proximity of the accessible parking
 5   to the accessible entrance.
 6          18.      As an individual with a mobility disability who at times relies upon a
 7   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 8   accommodations have architectural barriers that impede full accessibility to those
 9   accommodations by individuals with mobility impairments.
10          19.      Plaintiff is being deterred from patronizing the Business and its
11   accommodations on particular occasions, but intends to return to the Business for the
12   dual purpose of availing himself of the goods and services offered to the public and
13   to ensure that the Business ceases evading its responsibilities under federal and state
14   law.
15          20.      Upon being informed that the public place of accommodation has
16   become fully and equally accessible, he will return within 45 days as a “tester” for
17   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
18   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
19          21.      As a result of his difficulty experienced because of the inaccessible
20   condition of the facilities of the Business, Plaintiff was denied full and equal access
21   to the Business and Property.
22          22.      The Defendants have failed to maintain in working and useable
23   conditions those features required to provide ready access to persons with
24   disabilities.
25          23.      The violations identified above are easily removed without much
26   difficulty or expense. They are the types of barriers identified by the Department of
27   Justice as presumably readily achievable to remove and, in fact, these barriers are
28   readily achievable to remove. Moreover, there are numerous alternative
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                                             COMPLAINT
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 1   accommodations that could be made to provide a greater level of access if complete
 2   removal were not achievable.
 3         24.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 4   alleges, on information and belief, that there are other violations and barriers in the
 5   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
 6   notice regarding the scope of this lawsuit, once he conducts a site inspection.
 7   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 8   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 9   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
10   have all barriers that relate to his disability removed regardless of whether he
11   personally encountered them).
12         25.    Without injunctive relief, Plaintiff will continue to be unable to fully
13   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
14                               FIRST CAUSE OF ACTION
15   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
16     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
17                                        (P.L. 110-325)
18         26.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
19   above and each and every other paragraph in this Complaint necessary or helpful to
20   state this cause of action as though fully set forth herein.
21         27.    Under the ADA, it is an act of discrimination to fail to ensure that the
22   privileges, advantages, accommodations, facilities, goods, and services of any place
23   of public accommodation are offered on a full and equal basis by anyone who owns,
24   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
25   Discrimination is defined, inter alia, as follows:
26                a.     A failure to make reasonable modifications in policies, practices,
27                       or procedures, when such modifications are necessary to afford
28                       goods, services, facilities, privileges, advantages, or
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                                            COMPLAINT
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 1                       accommodations to individuals with disabilities, unless the
 2                       accommodation would work a fundamental alteration of those
 3                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 4                b.     A failure to remove architectural barriers where such removal is
 5                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 6                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 7                       Appendix "D".
 8                c.     A failure to make alterations in such a manner that, to the
 9                       maximum extent feasible, the altered portions of the facility are
10                       readily accessible to and usable by individuals with disabilities,
11                       including individuals who use wheelchairs, or to ensure that, to
12                       the maximum extent feasible, the path of travel to the altered area
13                       and the bathrooms, telephones, and drinking fountains serving
14                       the area, are readily accessible to and usable by individuals with
15                       disabilities. 42 U.S.C. § 12183(a)(2).
16         28.    Any business that provides parking spaces must provide accessible
17   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
18   shall be at the same level as the parking spaces they serve. Changes in level are not
19   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
20   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
21   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
22   designated disabled parking space is a violation of the law and excess slope angle in
23   the access pathway is a violation of the law.
24         29.    A public accommodation must maintain in operable working condition
25   those features of its facilities and equipment that are required to be readily accessible
26   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
27         30.    Here, the failure to ensure that accessible facilities were available and
28   ready to be used by Plaintiff is a violation of law.
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                                           COMPLAINT
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 1         31.       Given its location and options, Plaintiff will continue to desire to
 2   patronize the Business but he has been and will continue to be discriminated against
 3   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 4   the barriers.
 5                                SECOND CAUSE OF ACTION
 6       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 7         32.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 8   above and each and every other paragraph in this Complaint necessary or helpful to
 9   state this cause of action as though fully set forth herein.
10         33.       California Civil Code § 51 et seq. guarantees equal access for people
11   with disabilities to the accommodations, advantages, facilities, privileges, and
12   services of all business establishments of any kind whatsoever. Defendants are
13   systematically violating the UCRA, Civil Code § 51 et seq.
14         34.       Because Defendants violate Plaintiff’s rights under the ADA,
15   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
16   52(a).) These violations are ongoing.
17         35.       Plaintiff is informed and believes and thereon alleges that Defendants’
18   actions constitute discrimination against Plaintiff on the basis of a disability, in
19   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
20   previously put on actual or constructive notice that the Business is inaccessible to
21   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
22   inaccessible form, and Defendants have failed to take actions to correct these
23   barriers.
24                                            PRAYER
25   WHEREFORE, Plaintiff prays that this court award damages provide relief as
26   follows:
27         1.        A preliminary and permanent injunction enjoining Defendants from
28   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
                                                  8
                                              COMPLAINT
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 1   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 2   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 3   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 4   under the Disabled Persons Act (Cal. C.C. §54) at all.
 5         2.     An award of actual damages and statutory damages of not less than
 6   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 7         3.     An additional award of $4,000.00 as deterrence damages for each
 8   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 9   LEXIS 150740 (USDC Cal, E.D. 2016); and,
10         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
11   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
12

13                               DEMAND FOR JURY TRIAL
14         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
15   raised in this Complaint.
16

17   Dated: June 19, 2020             MANNING LAW, APC
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19                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
20                                       Attorney for Plaintiff
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                                           COMPLAINT
